                                         Case 1:15-cv-05236-LTS Document 883-17 Filed 03/06/20 Page 1 of 2
          Exhibit 17 - Moves Sought by Apparently Eligible Applicants (by Demographic Group Pairings), Net-Integrative Effect
                                           Disaggregated as between Insiders and Outsiders


                                                                                     (Counts)


NOT SCALED

Groups               Effect         Number cd_pref Net        Groups               Effect         Number cd_pref Net      Groups               Effect      Number cd_pref Net

W vs. AA Section 3   Segregate      72797        0 -358187    W vs. AA Section 3   Segregate        1618       1 -5609    W vs. AA Section 3   Segregate      74415   Any   -363796
W vs. AA Section 3   No Effect     645987        0            W vs. AA Section 3   No Effect       52171       1          W vs. AA Section 3   No Effect     698158   Any
W vs. AA Section 3   Integrate     430984        0            W vs. AA Section 3   Integrate        7227       1          W vs. AA Section 3   Integrate     438211   Any
W vs. AA Section 3   Not In Group 1240841        0            W vs. AA Section 3   Not In Group    61975       1          W vs. AA Section 3   Not In Group 1302816   Any

W vs. A Section 3    Segregate      53278        0   -64058   W vs. A Section 3    Segregate        1838       1   -598   W vs. A Section 3    Segregate      55116   Any    -64656
W vs. A Section 3    No Effect     180866        0            W vs. A Section 3    No Effect       14988       1          W vs. A Section 3    No Effect     195854   Any
W vs. A Section 3    Integrate     117336        0            W vs. A Section 3    Integrate        2436       1          W vs. A Section 3    Integrate     119772   Any
W vs. A Section 3    Not In Group 2039129                     W vs. A Section 3    Not In Group   103729       1          W vs. A Section 3    Not In Group 2142858   Any

W vs. H Section 3    Segregate     108002        0 -301581    W vs. H Section 3    Segregate        3329       1 -8041    W vs. H Section 3    Segregate     111331   Any   -309622
W vs. H Section 3    No Effect     612327        0            W vs. H Section 3    No Effect       46498       1          W vs. H Section 3    No Effect     658825   Any
W vs. H Section 3    Integrate     409583        0            W vs. H Section 3    Integrate       11370       1          W vs. H Section 3    Integrate     420953   Any
W vs. H Section 3    Not In Group 1260697        0            W vs. H Section 3    Not In Group    61794       1          W vs. H Section 3    Not In Group 1322491   Any

AA vs. H Section 3   Segregate       265344      0 -358681    AA vs. H Section 3   Segregate        5476       1 -2033    AA vs. H Section 3   Segregate     270820 Any     -360714
AA vs. H Section 3   No Effect       990859      0            AA vs. H Section 3   No Effect       83068       1          AA vs. H Section 3   No Effect    1073927 Any
AA vs. H Section 3   Integrate       624025      0            AA vs. H Section 3   Integrate        7509       1          AA vs. H Section 3   Integrate     631534 Any
AA vs. H Section 3   Not In Group    510381      0            AA vs. H Section 3   Not In Group    26938       1          AA vs. H Section 3   Not In Group 537319 Any

AA vs. A Section 3   Segregate      63270        0 -349939    AA vs. A Section 3   Segregate        1148       1 -2273    AA vs. A Section 3   Segregate      64418   Any   -352212
AA vs. A Section 3   No Effect     625317        0            AA vs. A Section 3   No Effect       49549       1          AA vs. A Section 3   No Effect     674866   Any
AA vs. A Section 3   Integrate     413209        0            AA vs. A Section 3   Integrate        3421       1          AA vs. A Section 3   Integrate     416630   Any
AA vs. A Section 3   Not In Group 1288813        0            AA vs. A Section 3   Not In Group    68873       1          AA vs. A Section 3   Not In Group 1357686   Any

H vs. A Section 3    Segregate     100362        0 -258359    H vs. A Section 3    Segregate        2002       1 -7941    H vs. A Section 3    Segregate     102364   Any   -266300
H vs. A Section 3    No Effect     622857        0            H vs. A Section 3    No Effect       42354       1          H vs. A Section 3    No Effect     665211   Any
H vs. A Section 3    Integrate     358721        0            H vs. A Section 3    Integrate        9943       1          H vs. A Section 3    Integrate     368664   Any
H vs. A Section 3    Not In Group 1308669        0            H vs. A Section 3    Not In Group    68692       1          H vs. A Section 3    Not In Group 1377361   Any




                                                                                    Page 1 of 2
                                                     Case 1:15-cv-05236-LTS Document 883-17 Filed 03/06/20 Page 2 of 2


              Exhibit 17 - Moves Sought by Apparently Eligible Applicants (by Demographic Group Pairings), Net-Integrative Effect
                                               Disaggregated as between Insiders and Outsiders


                                                                                                                   (Percentages)


NOT-SCALED RESULTS TRANSLATED TO PERCENTAGES

Groups               Effect*        Percentage cd_pref       Net             Groups               Effect         Percentage cd_pref       Net             Groups               Effect         Percentage cd_pref   Net             Relative percentage**

W vs. AA Section 3   Segregate           6.33%           0         -31.15%   W vs. AA Section 3   Segregate           2.65%           1          -9.19%   W vs. AA Section 3   Segregate           6.15%   Any           -30.05%                 29.51%
W vs. AA Section 3   No Effect          56.18%           0                   W vs. AA Section 3   No Effect          85.50%           1                   W vs. AA Section 3   No Effect          57.66%   Any
W vs. AA Section 3   Integrate          37.48%           0                   W vs. AA Section 3   Integrate          11.84%           1                   W vs. AA Section 3   Integrate          36.19%   Any
W vs. AA Section 3   Not In Group          N/A           0                   W vs. AA Section 3   Not In Group          N/A           1                   W vs. AA Section 3   Not In Group          N/A   Any

W vs. A Section 3    Segregate          15.16%           0         -18.23%   W vs. A Section 3    Segregate           9.54%           1          -3.10%   W vs. A Section 3    Segregate          14.87%   Any           -17.44%                 17.03%
W vs. A Section 3    No Effect          51.46%           0                   W vs. A Section 3    No Effect          77.81%           1                   W vs. A Section 3    No Effect          52.83%   Any
W vs. A Section 3    Integrate          33.38%           0                   W vs. A Section 3    Integrate          12.65%           1                   W vs. A Section 3    Integrate          32.31%   Any
W vs. A Section 3    Not In Group          N/A                               W vs. A Section 3    Not In Group          N/A           1                   W vs. A Section 3    Not In Group          N/A   Any

W vs. H Section 3    Segregate           9.56%           0         -26.69%   W vs. H Section 3    Segregate           5.44%           1         -13.14%   W vs. H Section 3    Segregate           9.35%   Any           -25.99%                 49.23%
W vs. H Section 3    No Effect          54.19%           0                   W vs. H Section 3    No Effect          75.98%           1                   W vs. H Section 3    No Effect          55.31%   Any
W vs. H Section 3    Integrate          36.25%           0                   W vs. H Section 3    Integrate          18.58%           1                   W vs. H Section 3    Integrate          35.34%   Any
W vs. H Section 3    Not In Group          N/A           0                   W vs. H Section 3    Not In Group          N/A           1                   W vs. H Section 3    Not In Group          N/A   Any

AA vs. H Section 3   Segregate          14.11%           0         -19.08%   AA vs. H Section 3   Segregate           5.70%           1          -2.12%   AA vs. H Section 3   Segregate          13.70%   Any           -18.25%                 11.10%
AA vs. H Section 3   No Effect          52.70%           0                   AA vs. H Section 3   No Effect          86.48%           1                   AA vs. H Section 3   No Effect          54.34%   Any
AA vs. H Section 3   Integrate          33.19%           0                   AA vs. H Section 3   Integrate           7.82%           1                   AA vs. H Section 3   Integrate          31.96%   Any
AA vs. H Section 3   Not In Group          N/A           0                   AA vs. H Section 3   Not In Group          N/A           1                   AA vs. H Section 3   Not In Group          N/A   Any

AA vs. A Section 3   Segregate           5.74%           0         -31.76%   AA vs. A Section 3   Segregate           2.12%           1          -4.20%   AA vs. A Section 3   Segregate           5.57%   Any           -30.47%                 13.22%
AA vs. A Section 3   No Effect          56.75%           0                   AA vs. A Section 3   No Effect          91.56%           1                   AA vs. A Section 3   No Effect          58.38%   Any
AA vs. A Section 3   Integrate          37.50%           0                   AA vs. A Section 3   Integrate           6.32%           1                   AA vs. A Section 3   Integrate          36.04%   Any
AA vs. A Section 3   Not In Group          N/A           0                   AA vs. A Section 3   Not In Group          N/A           1                   AA vs. A Section 3   Not In Group          N/A   Any

H vs. A Section 3    Segregate           9.28%           0         -23.88%   H vs. A Section 3    Segregate           3.69%           1         -14.62%   H vs. A Section 3    Segregate           9.01%   Any           -23.44%                 61.24%
H vs. A Section 3    No Effect          57.57%           0                   H vs. A Section 3    No Effect          78.00%           1                   H vs. A Section 3    No Effect          58.54%   Any
H vs. A Section 3    Integrate          33.16%           0                   H vs. A Section 3    Integrate          18.31%           1                   H vs. A Section 3    Integrate          32.45%   Any
H vs. A Section 3    Not In Group          N/A           0                   H vs. A Section 3    Not In Group          N/A           1                   H vs. A Section 3    Not In Group          N/A   Any

* "Not in group" not included in calculation

**CP beneficiary net percentage as percentage of non-beneficiary net percentage




                                                                                                                      Page 2 of 2
